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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )       Case No. 4:23CR310 MTS/SPM
                                                  )
 MARTEZ D. LINDSEY,                               )
                                                  )
                Defendant.                        )

                      ORDER CONCERNING PRETRIAL MOTIONS

       All pretrial matters in the above-referenced case have been referred to the undersigned

United States Magistrate Judge pursuant to 28 U.S.C. § 636(b). Defendant pled not guilty to the

Indictment on July 10, 2023. At the arraignment defendant’s counsel made a motion for

additional time to file pretrial motions. Defendant’s counsel has not had the opportunity to review

discovery and/or has not had time to investigate the evidence, discuss it with defendant, and/or

decide whether or not to file pretrial motions. The court finds that to deny defendant’s motion for

additional time would deny counsel for defendant the reasonable time necessary for effective

investigation and preparation of pretrial motions, taking into account the exercise of due diligence,

18 U.S.C. § 3161(h)(7)(B)(iv), and that the ends of justice served by granting defendant’s motion

for additional time outweigh the best interests of the public and defendant in a speedy trial. 18

U.S.C. § 3161(h)(7)(A). Therefore,

       IT IS HEREBY ORDERED that Defendant’s motion for additional time to investigate

and prepare pretrial motions is GRANTED.

       IT IS FURTHER ORDERED that any notice by the government of its intent to use

specified evidence at trial, pursuant to Rule 12(b)(4), Federal Rules of Criminal Procedure shall

be given to defendant forthwith.
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       IT IS FURTHER ORDERED that no later than July 17, 2023, each party may propound

to the opposing party, and may file with the court, any request for pretrial disclosure of evidence

or information. Not later than July 24, 2023, the parties shall respond to any such requests for

pretrial disclosure of evidence or information and may file with the court a copy of any such

response. To avoid a proliferation of documents, to the extent practicable, all such requests for

disclosure and the responses thereto shall be contained in one request document or in one response

document, with each separate item of information or evidence discussed being a subpart of said

document.

       IT IS FURTHER ORDERED that not later than July 24, 2023, the parties must meet for

a discovery conference pursuant to Fed. R. Crim. P. 16.1(a). All motions requesting Court action

pursuant to Fed. R. Crim. P. 16.1(b) must be pursued in a diligent and timely manner. The

undersigned will not consider motions requesting Court-action pursuant to Fed. R. Crim. P. 16.1(b)

filed after the pretrial motion deadline.

       IT IS FURTHER ORDERED that not later than August 21, 2023, the parties may file

any relevant pretrial motion(s). The opposing party shall respond to any such motion not later than

September 5, 2023.

       IT IS FURTHER ORDERED that any pretrial motion seeking a court order to compel

the production of evidence or information from the opposing party, and each motion to suppress

evidence, shall contain a statement of counsel that movant's counsel has personally conferred with

counsel for the opposing party about the issue(s) raised in the motion(s), that there is a good faith

belief that the information or evidence exists about which discovery is sought or which the

defendant seeks to have suppressed, and (for motions for disclosure) that the disclosure of said

information or evidence has been refused by the opposing party. Any such motion not having

such attestation will not be considered or ruled by the Court.
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         IT IS FURTHER ORDERED that any motion to suppress shall set forth, with

particularity, the items(s) of evidence to which the motion is addressed, and shall set forth specific

factual details to support any claim that such evidence was unlawfully obtained. Any motion to

suppress not containing such specific information or any motion cast in conclusory or

conjectural terms will not be heard or considered by the Court. Each motion to suppress must

be accompanied by a memorandum of law setting forth the specific legal ground upon which it is

contended that any such item of evidence was unlawfully obtained, with citations to authority.

         IT IS FURTHER ORDERED that if the defendant chooses not to file any pretrial

motions, counsel for the defendant shall file with the Court, not later than August 21, 2023, a

Notice stating that there are no issues that the defendant wishes to raise by way of pretrial

motion; that counsel has personally discussed this matter with the defendant; and that the

defendant agrees and concurs in the decision not to raise any issues by way of pretrial motion.

         IT IS FURTHER ORDERED if a pretrial motion is filed, the undersigned will set a

hearing by separate order after conferring with the parties.

         IT IS FURTHER ORDERED that any pretrial motion filed after the deadlines established

by the Court will not be heard or considered by the Court absent a showing of good cause for the

delay.

         IT IS FURTHER ORDERED that all deadlines set forth in this order include weekend

days and holidays. However, if a due date falls on a weekend or holiday, the due date for

compliance shall be the next work day.

         IT IS FURTHER ORDERED that all pretrial pleadings henceforth filed in this case shall

include the initials of the Magistrate Judge under the case number.

         IT IS FURTHER ORDERED that no extension time of any deadline set in this order will

be granted except upon written motion, made before the expiration of the deadline, and upon good

cause shown.
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       IT IS FINALLY ORDERED that the date for the jury trial of this action shall be set by

separate order upon the conclusion of the pretrial motion proceedings.




                                                SHIRLEY PADMORE MENSAH
                                                UNITED STATES MAGISTRATE JUDGE

Dated this 10th day of July, 2023.
